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16
                                    UNITED STATES DISTRICT COURT
17
                                 NORTHERN DISTRICT OF CALIFORNIA
18

19   IN RE NCAA STUDENT-ATHLETE                      Case No. 4:09-cv-1967 CW (NC)
     NAME & LIKENESS LICENSING
20   LITIGATION                                      CLASS ACTION
21                                                   REPLY BRIEF IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION TO COMPEL
22                                                   DEPOSITION OF NCAA PRESIDENT
                                                     MARK EMMERT
23
                                                     Date:        [No hearing scheduled
24                                                   Time:        per Civil Standing Order]
                                                     Dept.        SF Courtroom A, 15th Floor
25                                                   Judge:       Hon. Nathanel Cousins
26                                                   Complaint Filed: May 5, 2009
27

28

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 1   I.       INTRODUCTION
 2         A. The Court’s Questions:
 3
              The Honorable Magistrate asked six specific questions in his “Order Setting Briefing
 4
     Schedule on Plaintiffs’ Proposed Motion to Compel Deposition of Mark Emmert” (Dkt. 361).
 5
     The NCAA’s Opposition does not respond, or half-responds, to many. For clarity:
 6

 7            (1) What is the status of the other depositions noticed in this case? Plaintiffs have

 8               requested dates since July for NCAA personnel; the NCAA has resisted for months

 9               and has given no specific dates for anyone. (King Decl., at ¶4).
10            (2) Might the depositions of eight current NCAA employees make the deposition of
11
                 Emmert duplicative? No. The NCAA did not respond to the Court’s question. It
12
                 only terms them “high-level managers” (Opp. at 2, n.1). That term is correct, they are
13
                 individuals including the Director of Broadcasting, and others associated with media
14

15               contracts and video-game rights. No one among them, as far as Plaintiffs know, and

16               the NCAA did not state, have anything to do with Presidential Emmert’s “hundreds of

17               conversations” with the NCAA’s members on issues regarding his Presidential Retreat
18
                 and his recent statements and examinations of the collegiate model, amateurism, and
19
                 competitive balance. The NCAA’s lack of a response is telling.
20
              (3) Why should Emmert’s deposition be taken first, if the named plaintiffs have yet
21
                 to be presented for depositions noticed for June 2011? The NCAA acknowledges
22

23               that eight Plaintiff depositions are occurring the first two weeks of November.

24               Plaintiffs have asked the NCAA for several weeks when it would like to conduct even
25               more; it has not responded. The NCAA neglected to inform the Court that it and its
26
                 licensing arm CLC served a total of approximately two thousand document requests
27
                 on the Plaintiffs, with objections and responses pertaining to approximately 1500 of
28
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 1               them to first be due in June on 30 days’ notice, followed up by approximately twenty
 2               subpoenas to individuals and entities associated with those Plaintiffs served in rolling
 3
                 waves in July and August, then threatened in writing to further pursue subpoenas to
 4
                 those Plaintiffs’ “parents and grandparents.” (King Decl., at ¶¶ 5,6, and Exh. A). The
 5
                 NCAA also failed to mention that lead defense counsel in July requested in writing
 6

 7               postponement of Plaintiffs’ deposition schedule because of the very requests and

 8               subpoenas that the NCAA served, stating: “We think, given the document issues and

 9               the third party document delays, together with everyone's hope to only do this once
10               and yesterday's ruling making EA more interested, that we should defer all plaintiff
11
                 depositions until late September . . . I’d like to start with O'Bannon on Tuesday
12
                 September 27 . . .” (King Decl., at ¶7, Exh. B). Plaintiffs have sought to deal with
13
                 these scheduling developments in a professional and non-public manner, and there are
14

15               additional details that could be shared on the NCAA’s extensive delays on producing

16               documents relating to the named plaintiffs, but request that no more improper and

17               misleading statements be countenanced on scheduling issues.
18
             (4) Do the plaintiffs object to taking the deposition in Indianapolis? No.
19
             (5) Does the NCAA object to a deposition in San Francisco? Yes.
20
             (6) Why, or why not, should the deposition be directly supervised by the Court or a
21
                 neutral mediator? Plaintiffs raised this in the joint submission as a further protective
22

23               measure to give added comfort to the Court. The NCAA then told plaintiffs it did not

24               want that. Opp. Br., Wierenga Decl., Exh. 5. Then Plaintiffs said fine, it was only
25               offered for the NCAA’s benefit. Id. Now, the NCAA anew calls Plaintiffs’ deposition
26
                 notice a “public relations stunt” and a “harassment tactic.” (Opp. at 11). Plaintiffs are
27
                 open to any way that the Court would like to proceed, but respectfully request more
28
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 1               civility in the NCAA’s communications in this matter.
 2       B. Discovery is Mandatory on Affirmative Defenses.
 3
             The NCAA’s opposition is informed by an issue much larger and more fundamental than
 4
     simply whether Plaintiffs are entitled to depose President Emmert. The issue is whether Plaintiffs
 5
     can obtain discovery on asserted affirmative defenses. Once resolved, and the Federal Rules of
 6

 7   Civil Procedure and caselaw make quick work of that, it is readily apparent that Plaintiffs should

 8   be allowed to conduct their deposition.

 9                   “Is plaintiff entitled to discovery on the affirmative defenses raised
                     by defendants? Of course it is.”
10

11                   “[T]he court anticipates that further discovery [on affirmative
                     defenses] will narrow the issues for trial, and therefore serve the
12                   interests of judicial economy. “

13                   “[D]efendants shall, within 30 days, review, evaluate and dismiss
                     any affirmative defenses that are truly unnecessary and amend any
14                   that clearly do not provide an adequate factual basis.”
15
     State of New York v. Micron Tech., Inc., No. C 06-6436 PJH, 2009 WL 29883, *6-7, 21 (N.D.
16
     Cal. Jan. 5, 2009) (Hamilton, J.).
17
             The NCAA should be put to the test. It should either withdraw its affirmative defenses
18

19   once and forever on which it seeks to bar discovery, or follow the Federal Rules of Civil

20   Procedure. Plaintiffs have made this request to the NCAA since May of this year in numerous

21   meet/confers, and tellingly, it never happens. This state of affairs obligates the NCAA to live
22
     with the words that it writes, and obligates Plaintiffs, out of their duties to absent class members,
23
     to fully explore and evaluate the defenses. While the NCAA would like to keep defenses at the
24
     ready in its “hip pocket,” that is exactly what the federal rules and caselaw expressly prohibit, and
25
     motion practice may be necessary at this point to excise improper defenses. See Palmer v.
26

27   Oakland Farms, Inc., No. 5:10cv00029, 2010 U.S. Dist. LEXIS 63265, at *14-17 (W.D. Va. June

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 1   24, 2010) (“Moreover, by applying the Twombly-Iqbal heightened pleading standard to
 2   affirmative defenses, a plaintiff will not be left to the formal discovery process to find-out [sic]
 3
     whether the defense exists and may, instead, use the discovery process for its intended purpose of
 4
     ascertaining the additional facts which support a well-pleaded claim or defense.”).
 5
             The NCAA’s opposition ignores a number of things, such as that it has asserted all of its
 6

 7   defenses not just to the Antitrust Plaintiffs’ damages claims for former student athletes, but to the

 8   Right of Publicity Plaintiffs’ damages claims for current student-athletes, and to the Antitrust

 9   Plaintiffs’ injunctive relief claims for current student-athletes. It understandably seeks to recast
10   this case as far away from current student-athletes as possible, and from President Emmert, but
11
     that is not the way that Judge Wilken has ordered this case to proceed in discovery. The NCAA
12
     also makes much of when President Emmert took office, but neglects to inform the Court that
13
     Plaintiffs allege continuing violations, and that President Emmert also was the head of major
14

15   NCAA member schools for 15 years, exactly the type of college leaders that were invited to his

16   private summit in August. (Dkt. 360, at 4). This alone is unique, as there is no individual in the

17   country that has helmed the NCAA and a member university, let alone three universities.
18
             Additionally, NCAA unfortunately has not provided any of the customary affidavits in
19
     connection with these types of motions describing President Emmert’s duties and knowledge, or
20
     anyone else’s duties or knowledge. This appears to be a tactical gambit, part of a “keep them
21
     guessing strategy” to capitalize on information asymmetry. Plaintiffs have located a document
22

23   titled “Policies and Operating Procedures” from the NCAA, dated October 2010, the start of

24   President Emmert’s tenure, that states “Speaking Agent Policy – The president of the Association
25   and the chair of the Executive Committee are the only individuals authorized to speak on behalf
26
     of the Association except as outlined below.” (King Decl, Exh. C).
27
             The NCAA’s Bylaws further state in Rule 31.5.4.2 that “[t]he NCAA president shall be
28
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 1   responsible for the oversight and administration of all marketing, licensing, promotions and
 2   public affairs initiatives . . . negotiations with respect to awarding merchandising, marketing and
 3
     licensing rights (including corporate partner rights) shall be conducted by the NCAA president,
 4
     who shall have the authority to determine the specific terms and conditions and to execute and
 5
     enforce contracts for the awarding of such rights on behalf of the Association.”). (King Decl.,
 6

 7   Exh. D). As the Court likely is aware, the formal name of this consolidated litigation is In re

 8   NCAA Student-Athlete Licensing Litigation (Dkt. 145, at 4) (emphasis added). President

 9   Emmert clearly has, by rule, unique ability to speak on behalf of the NCAA and to oversee all
10   licensing and to personally handle contractual issues regarding licensing.
11
             The NCAA seeks to avoid its discovery obligations by misinterpreting the Federal Rules
12
     of Civil Procedure. Under the NCAA’s interpretation of Rule 26, a party may obtain discovery
13
     regarding only matters relevant to its claims, but must remain in the dark as to its adversary’s
14

15   defenses, which are off-limits and inappropriate for discovery. The NCAA argues amateurism,

16   commercialism, and competitive balance in college sports are not at issue because Plaintiffs did

17   not raise these topics in their pleadings. The NCAA, however, ignores that it placed amateurism,
18
     commercialism, and competitive balance at issue in its Answer and discovery responses.
19
             Indeed, one of the NCAA’s special and affirmative defenses asserts that the NCAA rules
20
     serve a number of purported procompetitive purposes, including the “creation of amateur college
21
     sports” and the promotion of “competitive balance.” Amateurism and competitive balance do
22

23   not implicate some “unpled theory” of Plaintiffs’ case—rather, they come straight, and verbatim,

24   from the NCAA’s pleadings.
25           The NCAA, in fact, went even further in its interrogatory responses, putting its financial-
26
     aid rules directly in play in this case. The NCAA’s response seems to be that its members can do
27
     whatever they want, unless they tell anyone about it, in which case visited upon them will be the
28
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 1   full force of the NCAA’s rules including on financial aid and protection of amateurism and
 2   competitive balance:
 3
                     INTERROGATORY NO. 10
 4
                     Under NCAA rules, are NCAA Members permitted to provide compensation or
 5                   benefits to former student-athletes in connection with the continuing licensing,
                     sale, use, display or monetization of their Names, Images, and/or Likenesses after
 6                   the period when the student-athlete participated in intercollegiate athletics?
 7

 8                   ANSWER

 9                   [N]othing in NCAA rules prohibits NCAA member institutions from providing
                     compensation, benefits or other consideration to former student-athletes in
10                   connection with “the continuing licensing, sale, use, display or monetization of
11                   their Names, Images, and/or Likenesses after the period when the student-athlete
                     participated in intercollegiate athletics,” provided such consideration was not
12                   offered as an inducement for the student-athlete to attend, and/or compete
                     for, the NCAA member institution in question. If a NCAA member institution
13                   utilizes promises or agreements to pay post-eligibility compensation of any sort –
                     including compensation of the sort identified in this Interrogatory – as a means of
14                   inducing student-athletes who still possess NCAA eligibility to attend or compete
15                   for the institution, that institution may be found to have violated, inter alia,
                     Division I Bylaws 13, 15 and/or 16.
16

17           The NCAA cannot invoke defenses and positions to attack Plaintiffs’ claims and, at the
18
     same time, maintain that they are irrelevant for discovery purposes. This stance is squarely
19
     contradicted by the plain language of Rule 26, which allows for discovery of “any nonprivileged
20
     matter that is relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1) (emphasis
21
     added). Perhaps recognizing that its arguments find no basis in Rule 26 or federal discovery
22

23   practice, the NCAA also argues that it may raise preemptive defenses in its answer and “reserve”

24   those defenses (i.e., bar related discovery) until it decides to formally assert them. The NCAA
25   does not explain just how Plaintiffs are to divine which defenses in the NCAA’s pleadings are fair
26
     game and which are “reserved” and thus not suitable for discovery.
27
             And the NCAA does not explain why Plaintiffs, before obtaining discovery, must prove
28
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 1   that a defense pled by the NCAA is actually not “reserved” and is instead relevant to Plaintiffs’
 2   claims. This novel approach to pleading is contrary to the plain language of Rule 8, which
 3
     requires a party to “state in short and plain terms its defenses to each claim asserted against it.”
 4
     Fed. R. Civ. P. (8)(b)(1)(A) (emphasis added). Put simply, by pleading its defenses, reserved or
 5
     not, the NCAA tied them to the claims asserted by Plaintiffs. Pleadings are formal assertions of
 6

 7   claims and defenses. If the NCAA truly believes that the issues of amateurism and competitive

 8   balance are irrelevant to this litigation, then it must withdraw its related affirmative and special

 9   defense. Otherwise, the issues are appropriate for discovery.
10           The caselaw best explains the folly of the NCAA’s position, and rejects any notion of
11
     asserting discovery bars to “conditional” or “reserved” defenses:
12
            • Austin v. City & Cnty. Of Denver, No. 05-cv-01313, 2006 U.S. Dist. LEXIS 32048 (D.
13          Colo. May 19, 2006) (granting plaintiff’s motion to compel discovery; “Plaintiff is entitled
            to conduct discovery based on the defenses asserted in this case and, just as importantly, is
14          entitled to assume that all affirmative defenses have been raised in good faith[,]” and
            “Plaintiff should be permitted to explore the bona fides of that affirmative defense.”).
15
            • Cuiksa v. Hallmark Hall of Fame Productions, Inc., No. 00-1389, 2004 U.S. Dist.
16          LEXIS 2177, *9–10 (D. Kan. Jan. 26, 2004) (“similar to any other claim or defense,
            plaintiff is entitled to discovery concerning this affirmative defense. . . . the court is
17          unwilling to allow a party, under the guise of ‘trial strategy,’ to withhold discovery
            concerning an affirmative defense raised in its answer and then reintroduce the defense in
18          the pretrial order.”).

19          • Olin Corp. v. Cont’l Cas. Co., No. 2:10-cv-00623, 2011 U.S. Dist. LEXIS 98177, *10
            (D. Nev. Aug. 30, 2011) (ordering defendants to respond fully to discovery request
20          regarding affirmative defenses because “[i]f [defendant] raises a defense, albeit
            conditionally, [plaintiff] still has a right to obtain discovery relevant to that conditional
21          defense.”).

22          Messick v. Patrol Helicopters, Inc., No. CV-07-039-BU-CSO, 2007 WL 2484957, at *4
            (D. Mont. Aug. 29, 2007) (“The Federal Rules of Civil Procedure do not provide a
23          mechanism for a party to ‘reserve the right’ to assert a defense. Under the plain language of
            Rule 8, a claim or defense is either asserted or it is not.”).
24
            • Vera v. O’Keefe, No. 10cv1422-L, 2011 U.S. Dist. LEXIS 108908, *5–6 (S.D. Cal.
25          Sept. 23, 2011) (ordering defendant to respond to an interrogatory because “[p]laintiff is
            entitled to discovery of information relevant to that asserted defense”).
26
            • The Milton H. Green Archives, Inc. v. CMG Worldwide, Inc., No. CV 05-2200, 2007
27          U.S. Dist. LEXIS 97275, *30–34 (C.D. Cal. May 14, 2007) (ordering defendants to
            produce documents that form the basis of certain affirmative defenses).
28
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 1
            • Teck Metals, Ltd. V. London Mkt. Insur., No. CV-05-411, 2010 U.S. Dist. LEXIS
 2          127902 (E.D. Wash. Aug. 25, 2010) (recommending ordering defendant to respond to
            plaintiff’s discovery requests regarding affirmative defenses; noting “discovery is not to be
 3          conducted piecemeal “).

 4
             Plaintiffs are entitled to full discovery on the NCAA’s affirmative and special defenses,
 5

 6   including the NCAA’s contention that its rules serve legitimate, procompetitive purposes, such as

 7   the creation of a “product” of amateur college athletics and the promotion of competitive balance.

 8   This discovery necessarily implicates NCAA President Mark Emmert, who has taken an active
 9
     and hands-on approach to the issues of amateurism, the collegiate model, and competitive equity
10
     during his tenure at the NCAA. Far from being removed from the “daily subjects of the
11
     litigation,” Dr. Emmert, by his own admission, has had “hundreds” of conversations with the
12
     membership regarding these issues and convened a “Presidential Retreat” in August to address
13

14   them. Through his conversations with NCAA members and his role as President, Dr. Emmert has

15   unique, first-hand knowledge of how the NCAA rules purportedly further the goals of amateurism
16   and competitive balance.
17
             Given his involvement in these issues, deposition of Dr. Emmert does not raise the same
18
     concern that traditionally evokes application of the apex doctrine—that is, harassment of high-
19
     level officers who have no knowledge of the issues at stake. The NCAA advances a construction
20

21   of a rule that is completely untethered to its purpose. Instead of serving as a shield against

22   harassing discovery practices, the apex doctrine, according to the NCAA, functions as a sword to

23   immunize top-level officers from discovery. But courts do not take such an expansive view of the
24   apex doctrine. The default rule is still that a noticed deposition should proceed, as it is “very
25
     unusual” for a court to prohibit the taking of a deposition altogether. See Celerity v. Ultra Clean
26
     Holding, No. C 05-4374 MMC (JL), 2007 WL 205067, at *3 (N.D. Cal. Jan. 25, 2007) (quoting
27
     Salter v. Upjohn Co., 593 F.2d 649, 651 (5th Cir. 1979)).
28
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 1
     II.     BACKGROUND
 2
             Plaintiffs filed this litigation against the NCAA two and a half years ago, on May 5, 2009,
 3

 4   and the NCAA moved to dismiss the consolidated cases. In their opposition brief to those

 5   motions, filed nearly exactly two years ago, the Antitrust Plaintiffs did note that “this case does

 6   not involve questions of the protection of amateur sports, the student athletic experience, or other
 7
     goals.” Dkt. 107, at 3. Of course, at that time, the only issues in the case were those raised in the
 8
     Antitrust Plaintiff’s original complaint, which has been superseded twice. The NCAA had yet to
 9
     assert a defense based on amateurism—in fact, the NCAA had not asserted any defenses, or filed
10
     any discovery responses.
11

12           That changed in the Spring of this year, as it become more evident that the NCAA

13   intended to rely on certain purported procompetitive purposes—specifically, the promotion of
14   amateurism and competitive balance—to justify the restraints it has imposed. The NCAA also
15
     explicitly referenced additional rules and bylaws besides those referenced in Plaintiffs’ claims,
16
     Form 08-3a and Bylaw 12.5.1.1. For instance, in responding to the Antitrust Plaintiffs’ first set of
17
     interrogatories, the NCAA stated that Bylaws 13, 15 and/or 161 barred NCAA member
18

19   institutions from promising or agreeing to pay student-athletes post-eligibility compensation,

20   including compensation in connection with licensing or use of former student-athletes’ names,

21   images, and likenesses. See Ex. A., Answer to Interrog. 10, at 15. And on May 31, 2011, when
22   the NCAA formally answered Plaintiffs’ claims, it asserted that it acted with procompetitive
23
     purposes and that its rules -- including those pertaining to financial aid -- promote amateurism
24
     and competitive balance. Dkt. 330, at 56-57. Thus, notwithstanding the NCAA’s repeated
25
     representations to the contrary, the issues of amateurism and commercialism are very much at
26

27   1
      These bylaws address “Recruiting,” “Financial Aid,” and “Awards, Benefits and Expenses for
28   Enrolled Student-Athletes,” respectively.
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 1   issue in this case because the NCAA chose to raise them.
 2           Plaintiffs filed a notice of deposition of Mark Emmert on May 4, 2011. Following meet
 3
     and confers with the NCAA’s counsel, Plaintiffs withdrew the notice without prejudice, and
 4
     stated that it was done dependent on a review of the NCAA’s yet unstated affirmative defenses.
 5
     (King Decl, at ¶8). Following the NCAA’s filing of its Answer on May 31, 2011, which made
 6

 7   explicit the NCAA’s intent to rely on amateurism and competitive balance as defenses, all

 8   Plaintiffs once again noticed the deposition of Dr. Emmert. The NCAA resisted efforts to depose

 9   Dr. Emmert, as well as the other witnesses noticed by Plaintiffs that same day. And then, in mid-
10   June, President Emmert announced with much fanfare his president summit meeting and since
11
     then has continued to write and speak publically on what appears to be a weekly basis on core
12
     issues regarding the NCAA’s defenses.
13
     III.    ARGUMENT
14

15
     A.      DR. EMMERT’S DEPOSITION IS APPROPRIATE UNDER THE APEX
16           DOCTRINE.

17           Under the Federal Rules, a party seeking to prohibit discovery carries a “heavy burden” of
18   showing why discovery should be denied. Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th
19
     Cir. 1975) (concluding the district court erred by forbidding plaintiff from taking deposition of
20
     George Hearst). “[A] strong showing is required before a party will be denied entirely the right to
21
     take a deposition.” Id. This burden remains the same whether the issue is raised in a motion to
22

23   compel or a motion for a protective order. See Browning v. City of South Bend, No. 2:09 cv 203,

24   2010 WL 3894223, at *1 (N.D. Ind. Sept. 30, 2010) (“[T]he party requesting a protective order or

25   opposing a motion to compel bears the burden of showing why the information is not
26   discoverable.”); Calobrace v. Am. Nat’l Can Co., No. 93 C 0999, 1995 WL 51575, at *1 (N.D.
27
     Ill. Feb. 6, 1995) (“Although this matter is at issue on the Motion to Compel filed by Plaintiffs
28
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 1   rather than a Motion for a Protective Order, Federal Rule of Civil Procedure 26(c) is applicable . .
 2   . .”); Riddell Sports Inc. v. Brooks, 158 F.R.D. 555, 558 (S.D.N.Y. 1994) (noting that there is
 3
     “little functional difference” between a motion to compel and a motion for a protective order,
 4
     “since in both cases the party resisting discovery has the burden of supporting its position”
 5
     (listing cases)). It also remains the same for depositions involving high-level corporate officers,
 6

 7   as it is “very unusual . . . for a court to prohibit the taking of a deposition altogether absent

 8   extraordinary circumstances.” See Celerity , 2007 WL 205067, at *3 (quoting Salter, 593 F.2d at

 9   651).
10           However, “courts are sometimes willing to protect high-level corporate officers from
11
     depositions when the officer has no first-hand knowledge of the facts of the case or where the
12
     officer’s testimony would be repetitive.” First United Methodist Church of San Jose v. Atlantic
13
     Mut. Ins. Co., No. C–95–2243 DLJ, 1995 WL 566026, at *2 (N.D. Cal. Sept. 19, 1995). “Where
14

15   a high-level decision maker removed from the daily subjects of the litigation has no unique

16   personal knowledge of the facts at issue, a deposition of the official is improper.” Celerity, 2007

17   WL 205067, at *3 (internal quotation marks omitted) (emphasis added). “This is especially so
18
     where the information sought in the deposition can be obtained through less intrusive discovery
19
     methods . . . or from depositions of lower-level employees with more direct knowledge of the
20
     facts at issue.” Id. Accordingly, “[w]hen determining whether to allow an apex deposition,
21
     courts will often consider: (1) whether or not the high-level deponent has unique first-hand non-
22

23   repetitive knowledge of the facts at issue in the case and (2) whether the party seeking the

24   deposition has exhausted other less intrusive discovery methods.” Websidestory, Inc. v.
25   Netratings, Inc., No. 06cv408 WQH (AJB), 2007 WL 1120567, at *2 (S.D. Cal. Apr. 6, 2007).
26
     “[W]here a corporate officer has first-hand knowledge of important, relevant, and material facts
27
     in the case the deposition should be allowed.” See First United Methodist Church, 1995 WL
28
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 1   566026, at *2.
 2           The NCAA cannot show good cause for an order prohibiting Plaintiffs from taking the
 3
     deposition of Dr. Emmert. See Fed. R. Civ. P. 26(c). Through his role as President for the
 4
     NCAA as well as his “hundreds” of conversations with NCAA members, Dr. Emmert has unique,
 5
     first-hand knowledge of the defenses related to amateurism and the NCAA rules that the NCAA
 6

 7   placed at issue in this litigation. (See NCAA Answer at 56-57.) Not only is Dr. Emmert a person

 8   with unique, first-hand knowledge of the facts in this case, he is the only person with knowledge

 9   of relevant facts regarding his conversations with NCAA membership regarding the sustainability
10   of the NCAA model and rules. Moreover, given the scheduling of depositions in this case, Dr.
11
     Emmert’s deposition likely will occur after several others, ensuring that counsel is well prepared.
12

13           1.        Dr. Emmert Has Unique First-Hand Non-Repetitive Knowledge of the Facts
                       at Issue.
14
             As this case has progressed, the NCAA has increasingly shown that it intends to rely on
15

16   amateurism and competitive balance, as well as the rules governing financial aid, as defenses to

17   Plaintiffs’ claims. On May 31, 2011, the NCAA made this intent official, submitting an

18   affirmative and special defense, No. 24, that details the purported “legitimate procompetitive
19   purposes” served by the NCAA rules, including those pertaining to financial aid. (See NCAA
20
     Answer at 56-57.) Specifically, the NCAA asserted that its rules:
21
                 “promote the creation and enhancement of amateur college athletics as ‘products’ or
22                activities that are distinct from professional and other amateur athletics”;
23
                 “allow the creation of a ‘product’ – amateur college athletics – that would not
24                otherwise exist, and are accordingly precompetitive”;

25               “promote the creation and maintenance of several unique features of NCAA college
                  athletics”;
26
                 “promote competitive balance between and among NCAA member institutions in the
27                various sports in which they compete”;
28
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 1                “help to minimize or eliminate the effect of boosters, agents, gamblers and other
                   professionalizing or improper influences on college athletics”;
 2
                  “help to preserve institutional control over athletics departments at NCAA member
 3
                   institutions, and thus maximize the integration between athletics and education at
 4                 those institutions”;

 5                “help to insure that student-athletes are integrated into the student body as a whole and
                   that education remains an important component of the student-athlete experience”; and
 6
                  “help ensure that sports other than football and men’s basketball are played at an
 7
                   intercollegiate level between NCAA member institutions.”
 8
     See id.
 9
               Dr. Emmert has admitted that he has unique, first-hand knowledge of these topics in
10
     statements that he has made to the media during his tenure as NCAA President. As chronicled in
11

12   the Joint Statement (Dkt. 360), Dr. Emmert has stated that:

13                he has had “hundreds of conversations with the membership,” during which it has
                   become “clear” to him that “Division I Athletics is at a crossroads”;
14
                  there are “fundamental concerns that commercialism is overwhelming amateurism”;
15

16                he has surveyed “presidents and Division I stakeholders” about the issues affecting the
                   amateur model;
17
                  “[t]he gap in revenue . . . is coming to redefine what we mean by competitive equity”;
18                 and
19
                  “[i]n order to protect student-athlete success, the collegiate model, amateurism and
20                 competitive equity, there must be substantive change to the enterprise.”
21   Dr. Emmert’s statements make clear that he has first-hand knowledge about amateurism and
22
     competitive equity—two purported “legitimate procompetitive purposes” raised explicitly in the
23
     NCAA’s answer. Moreover, this knowledge is unique. For one, Dr. Emmert has taken an active
24
     role in addressing the rise of commercialism and competitive imbalance and shaping policy for
25

26   the organization and its members regarding those issues. In addition, Dr. Emmert has personally

27   spoken to a number of NCAA members regarding the challenges, including commercialism,

28
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 1   facing the amateur model. The NCAA has not once provided the name of any specific person
 2   who possesses the same unique and first-hand knowledge of the content of these conversations as
 3
     Dr. Emmert does. (King Decl., at ¶9).
 4
             Recognizing that it has no basis to contend that Dr. Emmert does not have unique, first-
 5
     hand knowledge of one of the its chief defenses, the NCAA resorts to devising a novel, and
 6

 7   creative, rule limiting discovery only to a plaintiff’s claims, and to misconstruing the nature of

 8   Plaintiffs’ arguments. First, the NCAA maintains that Plaintiffs are not entitled to depose Dr.

 9   Emmert because he does not have unique, first-hand knowledge of Form 08-3a, Division I Bylaw
10   12.5.1.1, Electronic Arts’ video games, and the contracts between the NCAA and Electronic Arts
11
     and Collegiate Licensing Company. (NCAA Br. at 4.) Under the NCAA’s interpretation of Rule
12
     26, Plaintiffs may obtain discovery on only matters related to their claims, and within those
13
     claims, only on certain topics. But this interpretation ignores the plain language of Rule 26,
14

15   which provides that “[p]arties may obtain discovery regarding any nonprivileged matter that is

16   relevant to any party’s claim or defense.”2 See Fed. R. Civ. P. 26(b)(1); see also Nat’l Union Fire

17   Ins. Co. v. Res. Dev. Servs., Inc., No. C–10–01324 JF (PSG), 2011 WL 2581386, at *1 (N.D. Cal.
18
     June 29, 2011) (“Rule 26(b) states that a party may obtain discovery regarding any matter, not
19
     privileged, that is relevant to the claim or defense of any party.”). It also fails to consider the
20
     Federal Rules contemplate broad and liberal discovery—not limited inquiry into a small subset of
21
     one party’s claims. See Phoenix Solutions Inc. v. Wells Fargo Bank, N.A., 254 F.R.D. 568, 575
22

23
     2
24    The NCAA suggests that Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), limits a party’s
     discovery to only matters pertaining to that party’s pled claims. (NCAA Br. at 12 (“A plaintiff
25   should only be permitted to take discovery on those claims he had adequately pled under
     Twombly . . . .”).) But Twombly did not involve Rule 26—it addressed pleading standards under
26   Rule 8. Id. at 553-62. The court did note that “proceeding to antitrust discovery can be
27   expensive,” id. at 558, but it never stated that once a plaintiff has adequately pled its claims under
     Rule 8 and survived a motion to dismiss, as is the case here, that its discovery must be limited to
28   only its claims, and that it may not seek discovery regarding the defenses of its adversary.
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 1   (N.D. Cal. 2008) (“The scope of discovery permissible under Rule 26 should be liberally
 2   construed; the rule contemplates discovery into any matter that bears on or that reasonably could
 3
     lead to other matter that could bear on any issue that is or may be raised in a case.”). In short, the
 4
     NCAA cannot seriously contend that Plaintiffs are barred from discovery relating to defenses that
 5
     NCAA has pled; this argument is at odds with both the language of and purpose behind Rule 26.
 6

 7           Second, the NCAA misstates the purpose of Plaintiffs’ notice to depose Dr. Emmert,

 8   claiming that Plaintiffs wish to depose Dr. Emmert regarding his statements and quotations

 9   themselves. (See NCAA Br. at 7-8.) Thus, according to the NCAA, Plaintiffs’ basis for deposing
10   Dr. Emmert is “nothing more than the assertion that he has unique knowledge regarding his own
11
     public statements.” (See id. at 8.) This argument is disingenuous on its face. This case is not one
12
     in which a party seeks discovery from a corporate high-level officer only regarding the statements
13
     he has made to the press. See Affinity Labs of Texas v. Apple, Inc., No. C 09-4436 CW (JL), 2011
14

15   WL 1753982, at *4, 6 (N.D. Cal. May 9, 2011) (“Affinity seeks to depose Mr. Jobs on these

16   public statements . . . . It is these types of statements . . . on which Affinity seeks to depose Mr.

17   Jobs.”). Rather, Plaintiffs cite to Dr. Emmert’s statements only to show that he indeed has
18
     unique, first-hand knowledge of the defenses raised by the NCAA. See MedImmune LLC v. PDL
19
     Biopharma, Inc., No. C08-05590, 2010 WL 2640473, at *2 (N.D. Cal. June 30, 2010) (noting that
20
     the documents established the officer “was much more than an observer of events going on
21
     around him. Instead, it appears that he was the guiding hand and actual participant in the
22

23   discussions and events which are of concern in the current litigation”); Websidestory, Inc., 2007

24   WL 1120567, at *3 (emails established knowledge). Ironically, the NCAA contends that
25   Plaintiffs have not “even tried” to show that Dr. Emmert has unique, first-hand knowledge (see
26
     NCAA Br. at 1), yet, at the same time, criticizes their use of Dr. Emmert’s statements to show
27
     that he possesses knowledge. The NCAA cannot have it both ways. Dr. Emmert has unique,
28
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 1   first-hand knowledge of matters related to the defenses that NCAA has pled, and Plaintiffs are
 2   entitled to depose him on those matters.
 3
             2.      Other Discovery Methods.
 4
             Plaintiffs have attempted to depose other NCAA employees for months, but have still not
 5
     received a single date. The NCAA has yet to (1) provide availability dates for the witnesses that
 6

 7   Plaintiffs noticed in July, and (2) identify any specific persons who possess the same unique, first-

 8   hand knowledge regarding the protection of amateurism and competitive equity, and participated

 9   in meetings with the membership about this issue, as Dr. Emmert has apparently hundreds of
10   times already. (King Decl., at ¶10). Plaintiffs should not be required to rely on NCAA’s empty
11
     promises and sit back and watch the discovery deadline come and go before seeking to depose Dr.
12
     Emmert. See Websidestory, 2007 WL 1120567, at *4 (allowing for deposition of former CEO
13
     when, due to dilatory discovery conduct by both parties, there was “little time remaining in the
14

15   schedule before the discovery cut-off of April 10, 2007 to pursue other alternative discovery

16   methods”). Moreover, by the time Dr. Emmert is deposed, document production will be

17   substantially complete, and many fact depositions will have occurred.
18
             In addition, even though Dr. Emmert’s deposition will occur toward the end of discovery
19
     in this case, there is no requirement that it must. The NCAA advances an overly rigid and
20
     mechanical application of the apex doctrine that requires all discovery be completed before the
21
     depositions of high-level corporate officers. (See NCAA Br. at 5-6.) But this position ignores
22

23   one of the reasons behind the apex doctrine, which is to ensure, through other discovery, that a

24   corporate officer has unique, first-hand knowledge before subjecting him or her to a deposition.
25   Here, Dr. Emmert, through his own statements, has already demonstrated that he has unique, first-
26
     hand knowledge of the defenses pled by the NCAA, and the NCAA has provided no affidavits,
27
     declarations, or any specifics to the contrary.
28
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 1   B.      PLAINTIFFS ARE ENTITLED TO DISCOVERY ON MATTERS RELATED TO
             THE AFFIRMATIVE AND SPECIAL DEFENSES THAT THE NCAA HAS
 2           RAISED IN ITS PLEADINGS.

 3           In what has become a familiar refrain in this case, the NCAA contends that the issues of
 4
     amateurism and commercialism play no role in this case, and thus they are irrelevant and not
 5
     suitable for discovery. Tellingly, the NCAA limits the scope of relevant topics in this litigation to
 6
     those related to Plaintiffs’ claims,3 completely ignoring the other half of this case—the defenses
 7

 8   explicitly raised by the NCAA itself. The NCAA has pled the affirmative and special defense that

 9   its rules have purported “legitimate procompetitive purposes” by promoting, among other things,

10   amateurism and competitive balance and by preventing commercialism. (NCAA Answer at 56-
11
     57.) And its brief, including a gratuitous (and out-of-content) reference to NCAA v. Board of
12
     Regents, 468 U.S. 85 (1984),4 further demonstrates the NCAA’s intent to rely on it to combat any
13
     attack on its rules. (See NCAA Br. at 15.) The NCAA cannot seriously contend that Plaintiffs
14
     are not entitled to test this defense through discovery. As discussed previously, this argument is
15

16   wholly unsupported by Federal Rule of Civil Procedure 26, which allows for discovery of matters

17   related to claims and defenses. Perhaps recognizing that its position has no basis in the rules of
18   discovery, the NCAA turns to the rules related to pleading. But its pleading arguments are
19
     likewise without merit.
20   3
      See, e.g., NCAA Br. at 7 (“Unable to demonstrate that President Emmert has unique, first-hand,
21   non-repetitive knowledge of facts related to their claims . . . .” (emphasis added)); id. at 8 (“The
     problem is that none of these statements concerns any of the claims in the SCAC.” (emphasis
22   added)); id. at 9 (“Plaintiffs have failed to show that President Emmert’s speeches, conversations
     or meetings are somewhat relevant to their claims.” (emphasis added)).
23
     4
24     NCAA’s emphasis on NCAA v. Board of Regents is curious, given that the Supreme Court
     concluded the restraints in that case were not justified under a rule-of-reason analysis. Moreover,
25   the discussion quoted by the NCAA merely stands for the uncontroversial proposition that
     leagues, by their nature, have “rules on which the competitors agreed to create and define the
26   competition to be marketed,” and thus it would be inappropriate to blindly apply a per se analysis
27   to these rules. 468 U.S. at 100-01. The Supreme Court expressly noted that “[t]his decision is
     not based on . . . the NCAA’s historic role in the preservation and encouragement of
28   intercollegiate athletics.” Id. at 100.
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 1            First, the NCAA claims that Plaintiffs have attempted to insert an “unpled theory” into the
 2   case. (See NCAA Br. at 10, 12, 14-15.) The NCAA’s only bases for this contention, however,
 3
     are its own interpretation of Plaintiffs’ claims and unsupported, and self-serving, characterizations
 4
     of statements allegedly made by Plaintiffs’ counsel. (See NCAA Br. at 10 n.4, 14-15). The latter
 5
     should be dismissed out of hand by this Court. See Kittok v. Leslie’s Poolmart, Inc., 687 F. Supp.
 6

 7   2d 953, 962 (C.D. Cal. 2009) (giving little weight to defendant’s assertion that opposing counsel

 8   had conceded in a meet-and-confer that its client’s testimony was “inadequate” because

 9   “defendant offers no evidence of such a concession other than unsupported statements in
10   defendant’s counsel’s declaration”); Logan v. Chertoff, No. 4:07-CV-1948 CAS, 2009 WL
11
     4730648, at *2 (E.D. Mo. Dec. 9, 2009) (“The Court will not grant plaintiff relief based on his
12
     obscure and unsupported statements regarding opposing counsel.”).5 And the former is simply an
13
     attempt to hide the elephant in the room—the NCAA’s own answer. The NCAA raised the issues
14

15   of amateurism, commercialism, and competitive balance in its pleadings. It cannot now pin these

16   issues to an “unpled theory” of Plaintiffs’ case.

17            Second, unable to entirely shed its pleading, the NCAA ultimately concedes that it has
18
     pled an affirmative defense based on the promotion and protection of amateurism, but contends
19
     that it merely “has reserved the right” to formally assert this defense at some future time should
20
     Plaintiffs advance “unpled theories,” and until Plaintiffs do so, discovery is improper on related
21
     topics. (See NCAA Br. at 11 n.5, 15.) But the NCAA’s answer is a formal assertion of its
22

23   defenses to Plaintiffs’ current claims. See Fed. R. Civ. P. 8(b)(1) (“In responding to a pleading, a

24   party must: (A) state in short and plain terms its defenses to each claim asserted against it . . . .”
25   5
              It is an unfortunate circumstance that the NCAA mars nearly every verbal meet/confer, which are required
26   by the Local Rules, by emerging afterwards with a miraculous, unsupported, untrue, unwritten “concession” by
     which it believes the Plaintiffs have amended their pleadings verbally and essentially admitted total defeat. Plaintiffs
27   would prefer that the parties focus on productive work based on Judge Wilken’s numerous orders deny motions to
     dismiss, the complaint and Answer in this matter, and the Federal Rules of Civil Procedure’s instructions on
28   discovery.

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 1   (emphasis added)); see Messick v. Patrol Helicopters, Inc., No. CV-07-039-BU-CSO, 2007 WL
 2   2484957, at *4 (D. Mont. Aug. 29, 2007) (“The Federal Rules of Civil Procedure do not provide a
 3
     mechanism for a party to ‘reserve the right’ to assert a defense. Under the plain language of Rule
 4
     8, a claim or defense is either asserted or it is not.”). If the NCAA now admits this defense is
 5
     irrelevant, it should be stricken from its pleadings. See Fed. R. Civ. P. 12(f) (“The court may
 6

 7   strike from a pleading an insufficient defense or any redundant, immaterial, impertinent, or

 8   scandalous matter.”). The same is true if the defense is “reserved” and contingent on Plaintiffs’

 9   raising additional claims. See Messick, 2007 WL 2484957, at *4 (citing Northern District of
10   California cases and striking defendant’s “reserved defenses” of contribution and
11
     indemnification). If Plaintiffs bring allegedly “new” claims in the future, the NCAA’s recourse is
12
     to file an amended answer. See Fed. R. Civ. P. 15(a)(3). Until then, the NCAA must allow
13
     discovery on its pleaded defenses or withdraw them from the case.
14

15   IV.     CONCLUSION

16           Unlike many “apex deponents,” Mark Emmert is not removed from “the daily subjects of

17   the litigation.” President Emmert has unique, first-hand knowledge of matters directly related to
18
     the defenses explicitly pled in NCAA’s Answer. Accordingly, Plaintiffs should be entitled to
19
     take Dr. Emmert’s deposition.
20

21

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     REPLY BRIEF I.SO. MOTION TO COMPEL
     DEPOSITION OF NCAA PRESIDENT
                                                   - 20 -               CASE NO. 4:09-CV-1967 CW (NC)
